                Case 4:10-cv-00607-HDV-CFB Document 4 Filed 06/08/11 Page 1 of 1



                                        UNITED STATES DISTRICT COURT
                                         SOUTHERN DISTRICT OF IOWA




               Philip Rogaris                                     ORDER OF DISMISSAL RE: RULE 16

                                                                  CIVIL NUMBER:            4:10-cv-607 HDV CFB


                Plaintiff
                v

               CAB Asset Management, LLC




                Defendant


                With notice given according to Local Rule 41.1(b)(2) and no action taken,
        IT IS ORDERED that the above-entitled action is dismissed without prejudice under Local
Rule 41.1(b)(1)(D) for failure to file a scheduling report as required by Local Rule 16.


        Dated this 8        day of June 2011




                                                 CLERK, U.S. DISTRICT COURT


                                                      Fco. R. Meléndez
                                                 By: ___________________________
                                                     Deputy Clerk
